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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

UNITED STATES OF AMERICA
v. No. 4:17-CR-181-O
MICHELLE NICOLE DUNEGAN (01)

FACTUAL RESUME

SUPERSEDING Count One: Conspiracy to Possess a Controlled Substance with
INFORMATION: _ intent to Distribute (methamphetamine)
(in violation of 21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and

(b)U)(C))

PENALTY: $1,000,000 fine - not more than 20 years’ imprisonment, or both such fine
and imprisonment, plus a term of supervised release of not less than 3
years.

MAXIMUM PENALTY:
$1,000,000 fine, and not more than twenty (20) years’ imprisonment, plus a
term of supervised release of not less than 3 years. If the defendant violates
any condition of supervised release, the Court may revoke such term of
supervised release and require the defendant to serve an additional period of
confinement. Further the Court must impose a Mandatory Special
Assessment of $100.00.

ELEMENTS OF THE OFFENSE:

The essential elements which must be proved beyond a reasonable doubt in order to
establish the offenses charged in Count One of the Superseding Information are as
follows:

First: That two or more persons, directly or indirectly, reached an agreement to
distribute or possess with intent to distribute a controlled substance, as

charged in the information;

Second: That the defendant knew of the unlawful purpose of the agreement;

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Third: That the defendant joined in the agreement willfully, that is, with the intent
to further its unlawful purpose; and

Fourth: That the overall scope of the conspiracy involved a mixture or substance
containing a detectable amount of methamphetamine, a Schedule II
controlled substance.

STIPULATED FACTS:

In 2015 and 2016, Michelle Nicole Dunegan and Ronald Robert Oliver received
methamphetamine from Jose Pablo Morales, often on consignment. In turn, Michelle
Nicole Dunegan and Ronald Robert Oliver distributed methamphetamine to various
customers in the Northern District of Texas, returning to Jose Pablo Morales for
additional methamphetamine. In this manner, Michelle Nicole Dunegan, Ronald Robert
Oliver, and Jose Pablo Morales conspired with each other and others to possess
methamphetamine with intent to distribute.

 

 

 

SIGNED this _( day of Octoh. , 2017.
MICHELLE NICOLE, aR RANDY W. W. BOWERS
Defendant rf Counsel for Defendant

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